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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

XIAOBING Wang, et al.
                                                       Plaintiff,
v.                                                                  Case No.:
                                                                    1:22−cv−02024
                                                                    Honorable Thomas M.
                                                                    Durkin
Individuals, Partnerships, and Unincorporated
Associations on Schedule A, et al.
                                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 7, 2024:


       MINUTE entry before the Honorable Thomas M. Durkin: Motion hearing held on
3/7/2024. No one appeared on behalf of defendants. Motion for default judgment as to all
remaining Defendants who have not appeared [99] is granted, excluding Defendant #226
donroyj. Plaintiff's counsel is to send a proposed default judgment order to Judge Durkin's
proposed order inbox. Mailed notice. (ecw, )




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